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 1   Brandon J. Witkow (SBN 210443)
 2   bw@witkowlaw.com
     Cory A. Baskin (SBN 240517)
 3   cb@witkowlaw.com
 4   witkow | baskin
     21031 Ventura Boulevard, Suite 603
 5   Woodland Hills, California 91364
 6   Tel: 818.296.9508
     Fax: 818.296.9510
 7

 8   John A. Christy (Pro Hac Vice)
     jchristy@swfllp.com
 9   Schreeder, Wheeler & Flint, LLP
10   1100 Peachtree Street NE, Suite 800
     Atlanta, Georgia 30309
11   Tel: 404.681.3450
12   Fax: 404.681.1046

13   Attorneys for Defendant TickBox TV, LLC
14
                           UNITED STATES DISTRICT COURT
15
                         CENTRAL DISTRICT OF CALIFORNIA
16
     Universal City Studios LLC; Columbia)      Case No. 2:17-cv-07496-MWF(AS)
17
     Pictures Industries, Inc.; Disney   )
                                         )
18   Enterprises, Inc.; Twentieth Century Fox
                                         )      RESPONSE IN OPPOSITION TO
     Film Corporation; Paramount Pictures)      MOTION FOR LEAVE TO FILE
19                                       )
     Corporation; Warner Bros. Entertainment,   FIRST AMENDED COMPLAINT
                                         )
20   Inc.; Amazon Content Services, LLC; )      AND TO EXTEND DISCOVERY
     Netflix Studios, LLC,               )      CUTOFF
21                                       )
                                         )
22                        Plaintiffs,    )      [Filed Concurrently with Declaration
          vs.                            )      of John A. Christy]
23                                       )
                                         )
24   TickBox TV, LLC,                    )      Date: July 9, 2018
                                         )      Time: 10:00 a.m.
25
                          Defendant.     )
                                         )      Ctrm: 5A (Hon. Michael W.
26    __________________________________ )            Fitzgerald)
27

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     RESPONSE IN OPPOSITION TO MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT AND
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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Plaintiffs filed their Motion for Leave to File First Amended Complaint and to
 4   Extend Discovery Cutoff (the “Motion”) on June 4, 2018, seeking (1) leave to amend
 5   their Complaint based upon alleged new information, which Plaintiffs in fact knew
 6   months before the deadline to amend pleadings in this case, (2) extension of discovery
 7   deadlines, which have expired, and (3) to extend the discovery deadlines even if the
 8   Complaint is not amended due to Plaintiffs’ own failure to conduct discovery
 9   promptly in this matter. Based upon the timeline of this case, it is clear that Plaintiffs’
10   Motion is an attempt to expand these proceedings to cover their own failure to conduct
11   discovery in this action. There is no basis for this Court to amend its scheduling order
12   to remedy Plaintiffs’ lack of diligence in prosecuting its case.
13   II.   PROCEDURAL BACKGROUND
14         Plaintiffs filed their Complaint in this action on October 13, 2017. (Dkt. 1.)
15   On December 7, 2018, Plaintiffs filed a Motion for Preliminary Injunction. (Dkt.
16   28.)Pursuant to a Stipulation to Extend Time to Respond to Initial Complaint, (Dkt.
17   18), Defendant timely filed its Answer on December 8, 2017. (Dkt 29.) On that same
18   day, Defendant filed its Certification and Notice of Interested Parties, disclosing
19   Carrla Goldstein as a member of Defendant (Dkt. 30.)
20         On December 14, 2017, the Court entered its Order Setting Scheduling
21   Conference, setting a scheduling conference to be held February 12, 2018, and
22   directing the parties to file a Joint Rule 26(f) Report by January 29, 2018. (Dkt. 31.)
23   The order suggests that the parties “begin to conduct discovery actively before the
24   Scheduling Conference . . . because at the Scheduling Conference the Court will
25   impose strict deadlines to complete discovery.” (Id. at 2:8-13.)
26         On December 28, 2017, Defendant filed its Response in Opposition to Motion
27   for Preliminary Injunction. (Dkt. 34.) Concurrently, Defendant filed the Declaration
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 1   of Jeffrey Goldstein in Opposition to Plaintiffs’ Motion for Preliminary Injunction,
 2   disclosing Mr. Goldstein to be the CEO of Defendant. (Dkt. 34-1.)
 3         On January 29, 2018, a month after all such disclosures regarding the roles of
 4   Carrla and Jeffrey Goldstein had been made, the parties filed their Joint Rule 26(f)
 5   Report. (Dkt. 39.) At that time, Plaintiffs represented, “Plaintiffs expect to commence
 6   serving formal discovery requests shortly,” and proposed a discovery cut-off date of
 7   June 4, 2018, to which Defendant did not object. (Id. at 7:3-12.) Plaintiffs also
 8   disclosed that they intended to take the depositions of Defendant’s executives. (Id. at
 9   7:9-10.) Attached to the Joint Rule 26(f) Report, the parties submitted a Schedule of
10   Pretrial and Trial Dates Worksheet, in which Plaintiffs proposed a deadline to hear
11   motions to amend pleadings or add parties of May 4, 2018. (Id. at 12.)
12         Two months later, on March 21, 2018, the parties filed their Amended Joint
13   26(f) Report. (Dkt. 48.)     In such document, Plaintiffs once again represented,
14   “Plaintiffs expect to commence serving formal discovery requests shortly,” and
15   proposed a discovery cut-off of June 4, 2018. (Id. at 7:8,11.) Plaintiffs once again
16   stated their intention to take depositions of Defendant’s executives, and further
17   disclosed that they will seek third-party discovery from Defendant’s “business
18   partners.” (Id. at 7:14-16.) The parties also submitted a Schedule of Pretrial and
19   Trial Dates Worksheet, in which Plaintiffs again proposed a deadline to hear motions
20   to amend pleadings and add parties of May 4, 2018. (Dkt. 48-1.)
21         On April 13, 2018, the Court entered a scheduling order (the “Scheduling
22   Order”). (Dkt. 50.) The Scheduling Order states unequivocally that there shall be
23   “no further amendments” to pleadings or addition of parties. (Id. at 2.) The
24   Scheduling Order further provides that June 4, 2018 is the discovery cut-off date, and
25   clarifies, “This is not the date by which discovery requests must be served, it is the
26   date by which all discovery, including all hearings on any related motions, is to be
27   completed.” (emphasis in original.) (Id. at 2, 3:8-10.) Plaintiffs did not object to the
28   Scheduling Order or request reconsideration of the Scheduling Order.
                                             2
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 1          On June 4, 2018, more than five months after the roles of Carrla and Jeffrey
 2   Goldstein were disclosed to Plaintiffs, Plaintiffs filed their Motion seeking to add the
 3   Goldsteins as defendants in this action. (Dkt. 51.) In the Motion, Plaintiffs allege,
 4   “Plaintiffs did not know the extent to which the Goldsteins were involved in devising,
 5   controlling, and financially benefitting from Tickbox at the time the Complaint was
 6   filed,” but admit that it became “clear” to them after Defendant filed its Certification
 7   and Notice of Interested Parties and Mr. Goldstein’s declaration, in December of last
 8   year. (Id., at 3:4-14). Thus, Plaintiffs admit that they have had the information they
 9   believe warrants their Amended Complaint for over five months, but failed to seek
10   such an amendment until more than two months after this Court ordered no further
11   amendments would be considered, and more than a month after their own proposed
12   deadline for hearing such a motion to amend. 1
13   III. LEGAL ARGUMENT.
14         A.      Leave to Amend Must be Denied.
15          At the outset, Plaintiffs propose an incorrect standard for evaluation of their
16   Motion.      The Motion seeks to amend the Complaint to add parties in direct
17   contravention of the Court’s Scheduling Order, which states that no further
18   amendments will be allowed. The Federal Rules of Civil Procedure generally allow
19   a party to amend its complaint with leave of the Court under the standards of Rule 15.
20   Fed. R. Civ. P. 15(a)(2). However, where, as here, the Court has entered a scheduling
21   order providing deadlines to amend pleadings, Plaintiffs’ “ability to amend [the]
22   complaint is governed by Rule 16(b), not Rule 15(a).”                     Johnson v. Mammoth
23   Recreations, Inc., 975 F.2d 604, 608 (9th Cir. 1992). Thus, the schedule set by the
24   Court may be amended only upon a showing of “good cause.” Fed. R. Civ. P.
25   16(b)(4).
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       The Plaintiffs, represented by the same counsel as in this case, brought an action in January,
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     2018 styled Universal City Studios, LLC, et al. v. Dragon Media, Inc., d\b\a Dragon Box et. al. ,
28   Case Noe. 2:18-cv-00230-MEF-AS, in which they knew enough to assert claims against two
     principals of the corporate defendant similar to the
                                                        3 claims they seek to belatedly add in this case.
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 1          “Unlike Rule 15(a)’s liberal amendment policy which focuses on the bad faith
 2   of the party seeking to interpose an amendment and the prejudice to the opposing
 3   party, Rule 16(b)’s ‘good cause’ standard primarily considers the diligence of the
 4   party seeking the amendment.” Johnson, 975 F.2d at 609. “If that party was not
 5   diligent, the inquiry should end.” Id. In Johnson, the plaintiff sought to amend its
 6   complaint to add defendants; however, because the record demonstrated that the
 7   plaintiff had advance notice of the facts which formed the basis of its amendment, yet
 8   failed to seek such an amendment prior to the deadline for motions to amend, the
 9   Ninth Circuit affirmed that denial of such motion was appropriate. Id.
10          The circumstances in the present case are similar to those in Johnson. Plaintiffs
11   seek leave to amend their Complaint and add parties because they allege, “it is now
12   clear that the Goldsteins must be added to this suit” based upon Mr. Goldstein’s
13   declaration, filed December 28, 2017, and Defendant’s disclosure of Carrla Goldstein
14   as a member of Defendant, which disclosure was filed December 8, 2017. (Dkt. 51
15   at 9:8-14; see, also Dkt. 30, Dkt. 34-1.)
16          Consequently, over five months prior to the filing of the Motion, Plaintiffs
17   knew, or should have known, the facts on which they base their amendment. In
18   January, and again in March, Plaintiffs proposed a deadline to hear motions to amend
19   pleadings and add parties of May 4, 2018. In April, the Court entered an order that no
20   further amendments would be allowed.2 And yet it was not until June 4, 2018, that
21   Plaintiffs sought their amendment. In the meantime, Defendant has maintained a trial
22   preparation strategy consistent with the original Complaint and its own incentives as
23   a single Defendant. Discovery has now expired and, as discussed below, would need
24   to be started anew and all deadlines substantially extended, including the trial setting,
25   if Plaintiffs’ amendment were allowed.
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28     By that time, Plaintiffs could not have filed a motion and scheduled a hearing to be held within
     their own proposed deadline.                       4
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 1         Plaintiffs argue that the proposed amendment should be allowed because the
 2   Defendant would not be prejudiced. Whether there exists prejudice is not the
 3   standard. Relying on Gestetner Corp. v. Case Equip. Co., 108 F.R.D. 138, 141 (D.
 4   Me. 1985), the Johnson court held that “[a]lthough the existence or degree of
 5   prejudice to the party opposing the modification might supply additional reasons to
 6   deny a motion, the focus of the inquiry is upon the moving party’s reasons for seeking
 7   modifications.” Johnson, 975 F.2d at 609.
 8         In short, the Motion must be denied due to Plaintiffs’ lack of diligence and
 9   failure to show good cause in seeking leave to amend its complaint and add parties.
10        B.     If Leave to Amend is Not Granted, Extension of Discovery
11               Must be Denied.
12         For the same reasons set forth above, Plaintiffs’ request that discovery be
13   extended must be denied due to Plaintiffs’ lack of diligence. The Motion itself, as it
14   relates to discovery, is untimely by the express terms of the Scheduling Order, which
15   requires motions related to discovery to be heard by June 4, 2018. (Dkt. 50.)
16   Moreover, Plaintiffs did not serve any discovery in this case until it served its First
17   Set of Requests for Production of Documents to Defendant Tickbox on April 25,
18   2018, such that Defendant’s responses were due on May 25, 2018.              Plaintiffs
19   speculate without basis that “TickBox may simply be hoping it can avoid any
20   document production or motion to compel given the discovery cut-off”; however, due
21   to Plaintiffs’ own lack of diligence, Plaintiffs would not have had time to schedule a
22   motion to compel for hearing even if Defendant’s responses were objectionable. See
23   L.R. 6-1 (requiring twenty-eight days’ notice of a motion prior to hearing).
24   Notwithstanding that, Defendant has in good faith responded to Plaintiffs’ discovery
25   and produced documents responsive to such discovery.
26         Notably, although Plaintiffs use their Motion to imply that Defendant’s
27   discovery responses are inadequate, and even filed Defendant’s discovery responses
28   with the Motion, Plaintiffs have not addressed any discovery disputes with Defendant
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 1   as required by L.R. 37-1. At the L.R. 7-3 conference of counsel leading to this motion,
 2   Plaintiffs did not raise any discovery disputes, nor have they since that date. (See
 3   Declaration of John A. Christy ¶¶ 3-5.) Accordingly, the implication that Defendant
 4   has not cooperated in discovery, or that any discovery disputes exist, is wholly
 5   inaccurate and solely intended to divert attention from Plaintiffs own shortcomings.
 6         As the Rule 26(f) Reports filed in this case make clear, Plaintiffs have intended
 7   since January to schedule depositions of Defendant’s executives, and have intended
 8   since at least March to serve third-party discovery on “TickBox’s business partners.”
 9   No such discovery has been pursued.         Plaintiffs were not diligent in seeking
10   discovery, and now attempt to expand these proceedings to allow them a second
11   chance at discovery, under the false premise that new information requires
12   amendments to the Complaint. Plaintiffs have not demonstrated any “good cause”
13   for amendment of the Scheduling Order in this case, and the Motion must be denied.
14   See Johnson, 975 F.2d at 609.
15        C.     If Leave to Amend is Granted, the Proposed Extension of
16               Discovery Would Be Prejudicial.
17         To the extent the Court does allow Plaintiffs to amend the Complaint and add
18   new parties to this litigation, the short extension proposed by Plaintiffs would be
19   prejudicial. The hearing on the Motion is scheduled to be held July 9, 2018, yet
20   Plaintiffs seek a fact discovery cut-off of August 3, 2018, less than a month after the
21   hearing. Any new litigants should have a full opportunity to conduct discovery in this
22   case. See CH2O, Inc. v. Meras Eng’g, Inc., No. LA CV13-08418 JAK (RZx), 2015
23   WL 12752444 at *3-4 (C.D. Cal August 31, 2015) (amendment to discovery schedule
24   “necessary to ensure that the [added] parties have a sufficient opportunity to conduct
25   certain discovery” and extending discovery to a date over five months after the
26   amendment was allowed); Taylor v. Shippers Transport Express, Inc., No. CV13-
27   02092-BRO-(PLAx), 2014 WL 12561079 at *2 (C.D. Cal. April 18, 2014) (“Should
28   the Court grant leave to file a second amended complaint, the Court would be required
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  1   to modify the scheduling order . . . to give the new Defendant an opportunity to
  2   conduct discovery[.]”).
  3        If Plaintiffs are permitted to amend their Complaint as proposed, the new
  4   Defendants should be given an opportunity to conduct necessary discovery in this
  5   matter. As a result, this case would be delayed for months, all because Plaintiffs failed
  6   to exercise diligence in seeking to amend their complaint.
  7   IV. CONCLUSION
  8         A scheduling order is “not a frivolous piece of paper, idly entered, which can
  9   be cavalierly disregarded by counsel without peril.” Gestetner Corp., 108 F.R.D. at
 10   141. As the Ninth Circuit has held, “[d]isregard of the order would undermine the
 11   court’s ability to control its docket, disrupt the agreed-upon course of the litigation,
 12   and reward the indolent and cavalier.” Johnson, at. 610.
 13          For all of the reasons set out in this memorandum, Plaintiffs are not entitled to
 14   the relief they seek, because they have not demonstrated good cause that justifies
 15   amendment of the Complaint, and the addition of new parties long known to them, at
 16   this late stage of proceedings. Plaintiffs cannot identify any “new information”
 17   warranting amendment and have failed to diligently pursue discovery in this
 18   proceeding. Accordingly, the Motion must be denied.
 19
      Dated: June 18, 2018               witkow | baskin
 20
                                         Schreeder, Wheeler & Flint, LLP
 21

 22                                      By: /s/ John A. Christy
                                              John A. Christy
 23

 24                                            Attorneys for Defendant Tickbox TV, LLC
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                                TO EXTEND DISCOVERY CUTOFF
